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               EXHIBIT 3
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                                                                                                                   CONFIDENTIAL




  1/5/2021

  Aubry McMahon
  5008 west street
  Indian Trail, North Carolina 28079

  Aubry,

  On behalf of World Vision, Inc., I am pleased to provide you with this letter as written confirmation of our verbal offer for
  the full-time position of Donor/Customer Service Representative Trainee (DSR Trainee) commencing on 2/1/2021. Your
  corresponding grade level is 212 and you will be paid a rate of $15.00 per hour on a bi-weekly basis with adjustments within
  the framework of World Vision, Inc. policy. Consideration for employment as a Donation Services Representative I is
  dependent upon successful completion of the training and evaluation program (predicted to be between 9 and 11 weeks).
  Your regular attendance is required during this period. Should a separation occur, you will be eligible for payment for hours
  worked only.

  Policy information and required regulatory documents will be emailed to you through Dayforce, our online on-boarding
  program. In accordance with World Vision, Inc. policy, as a trainee you are eligible to receive all legally mandated benefits, such
  as worker’s compensation and health care which includes the related benefits of Flexible Spending Account (FSA) and
  participation in the Wellness Program. Eligibility does not include other WVUS benefit programs. Upon successful completion
  of your thirteen (13) week program and placement as a DSR I, you will be eligible to participate in all other applicable WVUS
  benefits programs. A Human Resources representative will meet with you shortly after you are hired to explain the benefits
  you are eligible for and that are effective at the beginning of your training period. A second meeting will be held after you
  successfully complete your training period and you are placed in a DSR I position to explain the other applicable benefits in
  which you will then be eligible to participate.

  As a condition of employment, you will be required to sign and comply with a Non-Disclosure Agreement (NDA), which
  among other things, prohibits unauthorized use or disclosure of World Vision US proprietary information. You are required
  by law to present original documentation to establish (1) true identity and (2) eligibility to be employed in the United States
  within (3) business days of the date your employment begins. Verification of eligibility for employment is required for you to
  continue your employment with World Vision, Inc.

  As noted in the application form, employment with World Vision, Inc. is at the mutual consent of the employee and World
  Vision, Inc. Accordingly, while World Vision, Inc. has every hope that employment relationships will be mutually beneficial and
  rewarding, employees and World Vision, Inc. retain the right to terminate the employment relationship at will, at any time,
  with or without cause. Likewise, World Vision, Inc. will have the right to make revisions to our policies, compensation or
  benefits at any time based on the needs of the business with or without advance notice.

  Aubry, we are pleased to have your participation in our Donor Representative Training Program and look forward to seeing
  how God will use your talents and gifts to further His work here at World Vision, Inc. Please feel free to call me if you have
  any questions or if there is anything further I can do to assist you.


  Best Regards,

  Catherine Miolla

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  Talent Acquisition Partner
  World Vision USA

  My signature indicates that I have read, understand, and agree with the terms and conditions outlined in this letter.

  _______________________________________________________                                ________________________________
                             Signature                                                                   Date

  To this end we always pray for you, that our God may make you worthy of his calling and may fulfill every resolve for good and every
  work of faith by his power, so that the name of our Lord Jesus may be glorified in you, and you in him, according to the grace of our
  God and the Lord Jesus Christ. (2 Thessalonians 1:11–12, ESV)




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